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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

 DASSO INTERNATIONAL, INC. and                 )
 EASOON USA, LLC,                              )
                                               )
          Plaintiffs,                          )   C.A. No. 17-1574-MFK
                                               )   (cons.)
     v.                                        )
                                               )   JURY TRIAL DEMANDED
 MOSO NORTH AMERICA, INC. and                  )
 MOSO INTERNATIONAL BV,                        )
                                               )
          Defendants.                          )


    REPLY IN SUPPORT OF DEFENDANTS MOSO NORTH AMERICA, INC. AND
      MOSO INTERNATIONAL B.V.’s RENEWED MOTION FOR JUDGMENT
 AS A MATTER OF LAW OR, IN THE ALTERNATIVE, MOTION FOR A NEW TRIAL


                                               David E. Moore (#3983)
                                               Bindu A. Palapura (#5370)
 OF COUNSEL:                                   POTTER ANDERSON & CORROON LLP
                                               Hercules Plaza, 6th Floor
 Thomas G. Pasternak                           1313 N. Market Street
 Timothy K. Sendek                             Wilmington, DE 19801
 John M. Schafer                               Tel: (302) 984-6000
 Ruben Castillo                                dmoore@potteranderson.com
 AKERMAN LLP                                   bpalapura@potteranderson.com
 71 S. Wacker Drive, 47th Floor
 Chicago, IL 60606                             Attorneys for Defendants MOSO North
 Tel: (312) 634-5700                           America, Inc. and MOSO International BV

 Evelina Gentry
 AKERMAN LLP
 601 West Fifth Street, Suite 300
 Los Angeles, CA 90071
 Tel: (213) 688-9500

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         Plaintiffs’ opposition to MOSO’s Motion for JMOL (D.I. 464, “Response”) fails to

 identify substantial evidence that would support the verdict in their favor on any claim. With

 respect to patent infringement, Plaintiffs had the burden to prove standing. The burden never

 shifted to MOSO, cannot be waived, and can be raised at any time. Plaintiffs’ response gets the

 law wrong on this threshold issue, and judgment should be entered in favor of MOSO on the

 patent claims. Plaintiffs also fail to rebut the indefiniteness of all asserted claims—they provide

 no reasonably certain understanding with which a POSITA could understand what is infringing

 and what is not. Instead, Plaintiffs remain dedicated to diverting attention to a red-herring

 argument—“controlled cracking”—that is neither an element of the claims, nor the construction,

 nor described in the ’578 Patent at all. Plaintiffs’ response also fails to identify substantial

 evidence upon which a reasonable jury could have found in Plaintiffs’ favor as to lost profits due

 to Plaintiffs’ failure to prove the absence of non-infringing substitutes. Plaintiffs also fail (and

 barely try) to identify substantial evidence for their state law claims or a causal nexus between

 the state law claims against MOSO and the damages awarded on these claims.

         Plaintiffs also fail to rebut that MOSO is entitled to a new trial due to refusal of their

 request to poll the jury. Instead, Plaintiffs rely on another legally illogical claim—that an error

 per se can be characterized as “harmless.” Finally, Plaintiffs advance a two-faced argument that

 there is nothing wrong with their having raised claim construction issues for the first time in the

 middle of trial, while claiming that MOSO having raised prosecution history estoppel (or claim

 construction issues on summary judgment) was untimely and constituted litigation misconduct.

 I.      EASOON LACKS STANDING AS A PLAINTIFF

         The matter before the Court is one of standing: Does Easoon have an exclusive license

 entitling it to join in the suit as a co-plaintiff and allow Plaintiffs to claim lost profits? It does not,

 and therefore lacks standing to participate in this matter as a Plaintiff.
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        Easoon ineffectively attempts to raise a strawman argument that MOSO waived “the

 affirmative defenses of patent misuse and unenforceability.” Response at 11. Plainly, MOSO’s

 argument is one of standing, not unenforceability or misuse. D.I. 455 Brief at 6 (“The matter

 before the Court is one of standing.”).

        An issue of standing cannot be waived. Mentor H/S, Inc. v. Medical Device Alliance,

 Inc., 240 F.3d 1016 (Fed. Cir. 2001) (“Thus, the rule that an exclusive licensee who does not

 have all substantial rights in a patent must join the patent owner is derived from the statute that

 defines what parties have standing to sue for patent infringement. Under these circumstances, the

 issue of whether an exclusive licensee has sufficient rights in a patent to bring suit in its own

 name is jurisdictional and, therefore, is not waived by a party's failure to raise the issue in the

 district court.”); Pandrol USA, LP v. Airboss Ry. Prods., 320 F.3d 1354, 1367 (Fed. Cir. 2003)

 (“It is well-established that any party, and even the court sua sponte, can raise the issue of

 standing for the first time at any stage of the litigation, including on appeal.”); Spine Solutions,

 Inc. v. Medtronic Sofamor Danek USA, Inc., 620 F.3d 1305, 1318–19 (Fed. Cir. 2010) (“Because

 we conclude that neither [licensee] has standing to sue on the [asserted patent], [the patent

 owner] is not entitled to recover for any lost profits suffered by [the licensees]”).

        The only merits-based response offered by Easoon is that “[t]o the extent that Easoon’s

 exclusive license also requires payment of post-expiration royalties for post-expiration sales, that

 simply does not render the entire licensee unenforceable.” Response at 13. This statement is

 legally wrong. Such a provision does render the license unenforceable—one need only read the

 Marvel case to see that this is correct. “A court need only ask whether a licensing agreement

 provides royalties for post-expiration use of a patent. If not, no problem; if so, no dice.” Kimble

 v. Marvel Ent., LLC, 576 U.S. 446, 459 (2015).




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        Here, Easoon admits that the licensing agreement provides for royalties for post-

 expiration use of a patent. As the Supreme Court says, “no dice.” Easoon argues to the contrary,

 claiming that Brulotte v. Thys Co. is not in fact “simplicity itself” to apply and that “the license

 … is presently enforceable.” Response at 13 (citing 379 U.S. 29 (1964)). This is plainly not so.

 Presently, there is an undisputed license agreement which requires payment of post-expiration

 royalties. Presently, there is no claim by either Dasso or Easoon that the parties do not consider

 this provision in effect and binding. Thus, presently, the only license agreements which could

 possibly justify Easoon’s involvement in this litigation are per se unlawful under Marvel and

 Brulotte. Easoon lacks standing as a plaintiff in this matter, and no recovery of lost profits is

 possible. Spine Solutions, Inc. at 1318; Poly-Am., L.P. v. GSE Lining Tech, Inc., 383 F.3d 1303,

 1311-12 (Fed. Cir. 2004).

 II.    THE CLAIMS ARE INDEFINITE

        Plaintiffs raise another strawman argument by claiming that “MOSO does not contend

 that the claim language itself is indefinite.” Response at 13.        Not so—the claim itself is

 indefinite, and the construction adopted highlights why this is so. Plaintiffs then rely on the

 unreported decision of Bombardier Recreational Products Inc. v. Arctic Cat Inc. Response at 13

 (citing 785 F. App’x 858, 866 (Fed. Cir. 2019)).         In Bombardier, which Plaintiffs’ claim

 represents an “identical argument” to the case at bar, the jury found the asserted claims, as

 construed by the court, were indefinite.1 785 F. App’x at 865-66. Bombardier does not, as

 Plaintiffs imply, create a separate body of law under which indefiniteness of a claim construction

 is a question of fact, whereas the indefiniteness of an unconstrued claim term is a question of

 law. Indeed, neither § 112 of the Patent Act nor Nautilus, Inc. v. Biosig Instruments, Inc.,


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  The patent owner did not appeal the court’s claim construction. Bombardier, 785 F. App’x at
 865-66.


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 recognizes such a distinction. 572 U.S. 898, 901 (2014). Plaintiffs’ arguments that Bombardier

 either creates such a distinction or should be credited over later, reported decisions are

 unavailing. See, e.g., Infinity Computer Prods., Inc. v. Oki Data Ams., Inc., 987 F.3d 1053, 1059

 (Fed. Cir. 2021) (“Indefiniteness is ultimately a question of law.”)

         Plaintiffs’ attempts to find “substantial evidence” in favor of patentability are likewise

 fruitless. Plaintiffs again primarily focus on “controlled cracking,” a term or concept admittedly

 found nowhere in the patent. Response at 14. Instead, Plaintiffs claim that this gap can be

 considered “known to those skilled in the art.” Id. There are two problems with this argument:

 First, it is irrelevant.   Even if a POSITA knew that incisions and slots could both cause

 “controlled cracking,” there is still no way for a POSITA to know with reasonable certainty what

 is a “slot” and what is an “incision.” If anything, Plaintiffs focus on “controlled cracking” serves

 to highlight the indefiniteness of the claim language: if both “slots” and “incisions” exhibit the

 same behavior on crushing, then there is no meaningful way to know if one is avoiding

 infringement, and thus the claims are indefinite.

         Second, Plaintiffs fail to cite any record evidence upon which a jury could have

 concluded that a POSITA at the time of the alleged invention would have had any basis to know

 of the alleged controlled cracking, even if that point were relevant to the underlying question of

 indefiniteness. Attorney argument is not “substantial evidence.” Acoustic Tech., Inc. v. Itron

 Networked Solutions, Inc., 949 F.3d 1366, 1375 (Fed. Cir. 2020).

 III.    EASOON CANNOT CLAIM LOST PROFITS DAMAGES

         Plaintiffs argue, without particularity, that all alternatives enumerated in MOSO’s brief

 are either unacceptable or infringing. Response at 16. For its acceptability argument, Plaintiffs

 address only one “specific segment of the customers’ businesses” and claim that “other decking

 materials are manifestly not ‘acceptable.’” Response at 16 (citing, without analysis, 59 pages of


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 trial transcript). But the attorney argument is not supported by the record—in fact, Plaintiffs’

 own witness testified that such alternatives like Ipe and Trex had in fact been accepted by

 customers. Tr. 278:12 (Chua); Brief Ex. A (D.I. 455-1) at 26:17-27:5 (“Q. What is Easoon’s

 damages theory due to patent infringement? A. Lost sales. Q. Lost sales to whom? A. Lost sales

 to MOSO and lost sales to -- because of the negative publicity. Not necessary MOSO gain the

 sales, but because of negative publicly, we lose sales. And that sales, that would have been

 dassoXTR could have gone to [Ipe], could have gone to [Trex] could have gone to any other

 competitive -- competing product with us. So those are all lost sales.”).

        Plaintiffs also claim that “these suppliers’ products . . . infringed the ‘578 patent.”

 Response at 16 (citing, without analysis, Tr. 241-244 (Chua)). Plaintiffs’ damages expert said

 otherwise: Mr. Newman admitted that Mr. Chua and Dr. Shmulsky told him that any alternatives

 in the marketplace were not infringing the ‘578 patent. Tr. 458:18-459:1 (Newman).

        This is not a matter of crediting the testimony of Mr. Chua, Mr. Kline, and Mr. Newman

 over Brett Kelly and Brian Napper. To the contrary, Mr. Chua, Mr. Kline, and Mr. Newman all

 testified consistently with MOSO’s argument—that non-infringing alternatives competed with

 the accused products and with Easoon’s own products. See Tr. 278:12 (Chua); Brief Ex. A (D.I.

 455-1) at 26:17-27:5 (Chua); Tr. 316:8-11 (Kline) (“It’s kind of a complementary replacement

 for Ipe. Moving into the new era, if you will, it becomes a little more challenging from an

 environmental standpoint. So it’s been a really nice complement to our portfolio.”); Tr. 458:18-

 459:1. 483:23-484:4 (Newman). Plaintiffs cite no substantial evidence upon which a jury could

 have found the absence of infringing substitutes on a customer-by-customer basis. Mentor

 Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1289 (Fed. Cir. 2017); Datascope Corp. v.




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 SMEC, Inc., 879 F.2d 820, 825 (Fed. Cir. 1989). Accordingly, the Court should grant JMOL in

 MOSO’s favor on the issue of lost profits damages.

 IV.    JMOL AS TO STATE LAW CLAIMS

        As far as substantial evidence of the tortious interference claim, Easoon was required to

 prove that it had a prospective business relationship with MOSO’s customers. Instead, Easoon

 refers to evidence they claim shows “that MOSO misappropriated trade secret and financial sales

 information . . . [and] used that information to target and take Easoon’s customers.” Response at

 17. But there is no claim against MOSO for trade secret misappropriation. In fact, the Court

 previously denied Easoon’s attempt to bring such a claim against MOSO. D.I. 256 at 5-6.

 Instead, Easoon previously claimed its tortious interference claim consisted of targeting

 customers at trade shows and losing business of three customers. D.I. 25 at ¶¶124-125. In

 opposing MOSO’s motion for summary judgment, Easoon said the tortious interference claim

 stemmed from such conduct. D.I. 269 at 33. Now, Easoon is pivoting after trial, conflating its

 tortious interference claim with an allegation of trade secret misappropriation in order to survive

 MOSO’s motion. But by taking this position, Easoon renders its tortious interference claim void

 as preempted. Diamond Power Int’l, Inc. v. Davidson, 540 F. Supp. 2d 1322, 1346 (N.D. Ga.

 2007) (noting that the Georgia Trade Secrets Act preempts common law claims arising out of the

 same facts as a misappropriation of trade secrets claim); Savor, Inc. v. FMR Corp., C.A. No.

 00C-10-249-JRS, 2001 WL 541484, at *4 (Del. Super. Ct. Apr. 24, 2001), aff’d, 812 A.2d 894

 (Del. 2002)) (noting that the Delaware’s trade secrets statute preempts common law claims

 arising out of the same facts as a misappropriation of trade secrets claim).

        Preemption aside, the only evidence Easoon identifies is testimony from Mr. Kline,

 which they appear to use as support for both the tortious interference claim and DDTPA claim.

 Response at 17 (citing Tr. 317 – 318). But Mr. Kline stated only that he understood from a


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 conversation with Mr. Kelly and Mr. Osterman that Dasso XTR was in financial struggles. Tr.

 317:21-318:5 (Kline).     Easoon offers no evidence that this was untrue, or that Mr. Kline

 reallocated business on the basis of that statement. To the contrary, Chua admitted that there was

 turmoil in China in 2017. Tr. 271:2-20 (Chua). Additionally, Chua stated in a declaration to a

 Georgia state court signed on June 1, 2017, that a feud between Easoon and TW could lead to

 Easoon going out of business absent the court’s intervention. Tr. 266:2-13 (Chua); DTX-377 at

 ¶36. In any event, Mr. Kline testified that this conversation with Mr. Kelly and Mr. Osterman

 occurred in April or May 2017. Tr. 318:14-24 (Kline). MOSO NA was not formed until early

 June 2017. Trial Tr. 582:2-6 (Zaal). Easoon makes no attempt to explain how either MOSO

 entity could tortiously interfere with Easoon’s prospective economic advantage when MOSO NA

 did not exist and neither Mr. Kelly nor Mr. Osterman was employed by MOSO BV. The verdict

 regarding Easoon claim 2 is thus not supported by substantial evidence.

        Easoon’s claim under the DDTPA similarly fails. Easoon was required to prove that

 “[MOSO] disparaged the goods, services, or business of [Easoon].” D.I. 436 at 37. Such

 disparagement must be part of a “patterns of deceptive conduct, not isolated incidents of

 consumer fraud” Grand Ventures, Inc. v. Whaley, 622 A.2d 655, 662 (Del. Super. Ct. 1992).

 Here again, the only evidence is a single statement made to a single customer before MOSO NA

 became an entity. Response at 17 (citing Tr. 317-318 (Kline). Such evidence is insufficient for

 the same reasons as discussed with respect to Easoon’s claim for tortious interference. Easoon

 failed to identify substantial evidence to support the jury’s finding of liability.

        Finally, as to the aiding and abetting breach of fiduciary duty claim, Easoon cites no

 evidence whatsoever, let alone substantial evidence, for their attorney argument that “MOSO’s




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 conduct aided and abetted” that breach. Response at 17. Consequently, the Court should grant

 JMOL in MOSO’s favor on Easoon claims 2, 3, and 6.

 V.     STATE LAW DAMAGES – CLAIMS 2, 3, AND 62

        Plaintiffs’ defense to the Motion on this point is a single sentence: “The evidence was

 clear that MOSO’s tortious behavior was part and parcel of its patent infringement.” Response at

 18. As best as this statement can be understood, it leads to the conclusion that the state law

 claims, being “part and parcel” of a patent law claim, are preempted and JMOL must be entered

 in MOSO’s favor. Hunter Douglas, Inc. v. Harmonic Design, Inc., 153 F.3d 1318, 1335 (Fed.

 Cir. 1998) (“If a plaintiff bases its tort action on conduct that is protected or governed by federal

 patent law, then the plaintiff may not invoke the state law remedy, which must be preempted for

 conflict with federal patent law”), overruled on other grounds by Midwest Indus., Inc. v.

 Karavan Trailers, Inc., 175 F.3d 1356 (Fed. Cir. 1999). Otherwise, Easoon failed to present a

 causal nexus between any non-patent claim and the damages it claims to have suffered, and

 MOSO is entitled to JMOL in its favor as to state law damages.

 VI.    POLLING THE JURY

        To the extent the Court does not grant JMOL in Defendants favor on any claim, the

 Response does not warrant denial of a new trial on any such claims. Regrettably, the Court

 committed per se error in not individually polling the jury. Easoon’s argument that MOSO

 failed to “insist” or “cite Fed. R. Civ. P. 48(c)” invites the legal error. The Court dismissed the

 jury immediately after first denying the request to poll the jury and then collectively asking the

 jurors to raise their hands if they disagreed with the verdict. Tr. 1161:16-1162:2.




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   MOSO did not, contrary to Plaintiffs’ claims, seek JMOL as to claim 4 or damages for the
 same, which was neither directed at MOSO nor brought in the 1574 case.


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        Easoon’s claim that waiver occurs unless one cites Rule 48(c) is plainly without

 authority. See Sec. and Exch. Comm’n v. Sargent (Sargeant II), 66 F.4th 11, 14 (1st Cir. 2023)

 (finding the request “Can we poll the jury?” sufficient).          Easoon’s cited caselaw is also

 distinguishable. Ira Green, Inc. v. Military Sales & Service Co. was decided in 2014, before the

 First Circuit held that the failure to individual poll jurors is per se reversible error in Sargent.

 Further, Ira Green related not to a denial of a request to poll but a request to poll the jury that the

 judge forgot in the shuffle of addressing an earlier oversight. 775 F.3d 12, 24 (3d Cir. 2014).

 The unreported Simmons v. Napier decision involved nearly the same situation: the judge invited

 a poll request, which was accepted but lost in the shuffle of correcting an earlier oversight. 626

 Fed. Appx. 129, 124 (6th Cir. 2015).         MOSO’s poll request here was neither invited nor

 forgotten like the litigants in Ira Green and Simmons: it was denied.

        Further, the facts and circumstances of the polling issue here are more like those

 presented in Sargent, where, after collectively asking the jurors if they agreed with the verdict,

 the court denied that the defendant’s request to poll and then dismissed the jury. 66 F.4th at 13.

 In the Third Circuit, such polling constitutes per se error under Criminal Rule 31(d), which is

 identical in the relevant language of Rule 48(c). Gov’t of the Virgin Islands v. Hercules, 875

 F.2d 414, 418 (3d. Cir. 1989). Further, the presence or absence of indications of a lack of jury

 unanimity is irrelevant. Sec. and Exch. Comm’n v. Sargent (Sargent I), 605 F. Supp. 3d 316, 319

 n3 (D. Mass. 2022). Further, the First Circuit considered a number of arguments regarding the

 harmlessness of failing to individually poll the jury after a party’s request, and it concluded that

 none was availing. Sargent II, 66 F.4th at 17-20. Easoon offers no basis for distinguishing the

 First Circuit’s analysis or explanation as to how Third Circuit precedent would lead to a finding




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 of harmlessness. Thus, for the reasons set forth in Sargent II and under the precedent established

 in Hercules, MOSO is entitled to a new trial.

 VII.     LATE CONSTRUCTION OF ‘SCRIMBER’

          Plaintiffs argue that there is no fault in their having, for the first time at trial, treated the

 claim preamble as limiting nor with the Court’s having construed “scrimber” as a positive

 limitation. Response at 19, Tr. at 783:10-784:1 (Court). The hypocrisy of Plaintiffs’ position is

 clear.   Plaintiffs claimed repeatedly before, during, and after trial that MOSO committed

 litigation misconduct by addressing anything having to do with claim construction or prosecution

 history estoppel after the claim construction proceedings in 2019. See D.I. 416 at 1, Tr. 868:8-9

 (Plaintiffs’ counsel); D.I. 442-2 at 10; D.I. 451 at 10-11. Plaintiffs now cite precedent providing

 the Court discretion to revisit prior claim construction. Response at 19. For Plaintiffs to accuse

 MOSO of misconduct for seeking the same exercise of discretion is duplicitous. In any event,

 the Court erred in not construing the preamble and not issuing a limiting instruction. To the

 extent JMOL is not granted in MOSO’s favor on Plaintiffs’ claim 1, MOSO is entitled to a new

 trial on the issue of infringement and invalidity.

 VIII. CLEAR WEIGHT OF EVIDENCE – NEW TRIAL

          Plaintiffs do not dispute that the Court can grant a new trial if it declines to enter JMOL.

 As demonstrated above and in the Brief, the evidence weighs heavily against the jury’s verdict

 on each claim against MOSO. The Court should, alternatively, order a new trial on any claim

 where JMOL in MOSO’s favor is denied.

 IX.      CONCLUSION

          For the reasons stated, Defendants respectfully requests that the Court grant JMOL in

 Defendants’ favor on the issues addressed in their brief. Alternatively, should the Court deny

 JMOL on one or more issues, a new trial is warranted such issues.


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                                        Respectfully submitted,
                                        POTTER ANDERSON & CORROON LLP

 OF COUNSEL:                            By: /s/ David E. Moore
                                            David E. Moore (#3983)
 Thomas G. Pasternak                        Bindu A. Palapura (#5370)
 Timothy K. Sendek                          Hercules Plaza, 6th Floor
 John M. Schafer                            1313 N. Market Street
 Ruben Castillo                             Wilmington, DE 19801
 AKERMAN LLP                                Tel: (302) 984-6000
 71 S. Wacker Drive, 47th Floor             dmoore@potteranderson.com
 Chicago, IL 60606                          bpalapura@potteranderson.com
 Tel: (312) 634-5700
                                        Attorneys for Defendants MOSO North
 Evelina Gentry                         America, Inc. and MOSO International BV
 AKERMAN LLP
 601 West Fifth Street, Suite 300
 Los Angeles, CA 90071
 Tel: (213) 688-9500

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